     Case 8:25-cv-00366-MWC-KES       Document 1   Filed 02/24/25   Page 1 of 10 Page ID
                                            #:1


      SO. CAL. EQUAL ACCESS GROUP
 1    Jason J. Kim (SBN 190246)
      Jason Yoon (SBN 306137)
 2    101 S. Western Ave., Second Floor
      Los Angeles, CA 90004
 3    Telephone: (213) 205-6560
      cm@SoCalEAG.com
 4
      Attorneys for Plaintiff
 5    BERNARD TARUC
 6
 7                               UNITED STATES DISTRICT COURT
 8                              CENTRAL DISTRICT OF CALIFORNIA
 9
      BERNARD TARUC,                               Case No.:
10
                   Plaintiff,                      COMPLAINT FOR INJUNCTIVE
11                                                 RELIEF AND DAMAGES FOR DENIAL
            vs.                                    OF CIVIL RIGHTS OF A DISABLED
12                                                 PERSON IN VIOLATIONS OF
13                                                 1. AMERICANS WITH DISABILITIES
                                                   ACT, 42 U.S.C. §12131 et seq.;
14    TRIANGLE TRUCK PARTS, INC.;
      DALE A. SCOTT, AS TRUSTEE OF THE             2. CALIFORNIA’S UNRUH CIVIL
15                                                 RIGHTS ACT;
      SCOTT FAMILY TRUST; and DOES 1 to
16    10,                                          3. CALIFORNIA’S DISABLED
                                                   PERSONS ACT;
17                 Defendants.
                                                   4. CALIFORNIA HEALTH & SAFETY
18                                                 CODE;
19                                                 5. NEGLIGENCE
20
21
22
23
            Plaintiff BERNARD TARUC (“Plaintiff”) complains of Defendants TRIANGLE
24
      TRUCK PARTS, INC.; DALE A. SCOTT, AS TRUSTEE OF THE SCOTT FAMILY
25
      TRUST; and DOES 1 to 10 (“Defendants”) and alleges as follows:
26
      //
27
      //
28




                                          COMPLAINT - 1
     Case 8:25-cv-00366-MWC-KES         Document 1      Filed 02/24/25    Page 2 of 10 Page ID
                                              #:2



 1                                              PARTIES
 2             1.   Plaintiff is a California resident with a physical disability. Plaintiff suffers
 3    from paraplegia and is substantially limited in his ability to walk. Plaintiff requires the
 4    use of a wheelchair at all times when traveling in public.
 5             2.   Defendants are, or were at the time of the incident, the real property owners,
 6    business operators, lessors and/or lessees of the real property for a parts store
 7    (“Business”) located at or about 300 South Irwindale Ave., Azusa, California.
 8             3.   The true names and capacities, whether individual, corporate, associate or
 9    otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
10    who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
11    Court to amend this Complaint when the true names and capacities have been
12    ascertained. Plaintiff is informed and believes and, based thereon, alleges that each such
13    fictitiously named Defendants are responsible in some manner, and therefore, liable to
14    Plaintiff for the acts herein alleged.
15             4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
16    times, each of the Defendants was the agent, employee, or alter-ego of each of the other
17    Defendants, and/or was acting in concert with each of the other Defendants, and in doing
18    the things alleged herein was acting with the knowledge and consent of the other
19    Defendants and within the course and scope of such agency or employment relationship.
20             5.   Whenever and wherever reference is made in this Complaint to any act or
21    failure to act by a defendant or Defendants, such allegations and references shall also be
22    deemed to mean the acts and failures to act of each Defendant acting individually, jointly
23    and severally.
24                                  JURISDICTION AND VENUE
25             6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
26    1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
27    seq.).
28




                                               COMPLAINT - 2
     Case 8:25-cv-00366-MWC-KES         Document 1     Filed 02/24/25    Page 3 of 10 Page ID
                                              #:3



 1          7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2    arising from the same nucleus of operating facts, are also brought under California law,
 3    including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4    54, 54., 54.3 and 55.
 5          8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6          9.     Venue is proper in this court pursuant to 28 USC §1391(b). Defendants
 7    reside in this district, Orange County, California.
 8                                      FACTUAL ALLEGATIONS
 9          10.    In or about November of 2024, Plaintiff went to the Business.
10          11.    The Business is a parts store business establishment, open to the public, and
11    is a place of public accommodation that affects commerce through its operation.
12          12.    While attempting to enter the Business during each visit, Plaintiff personally
13    encountered a number of barriers that interfered with his ability to use and enjoy the
14    goods, services, privileges, and accommodations offered at the Business.
15          13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
16    included, but were not limited to, the following:
17                 a.     Defendants failed to maintain accessibility for persons with
18                        disabilities to comply with the federal and state standards. Defendants
19                        failed to provide at least one accessible entrance as required as the
20                        entrance had stairs instead of a proper ramp.
21          14.    These barriers and conditions denied Plaintiff the full and equal access to the
22    Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
23    patronize the Business; however, Plaintiff is deterred from visiting the Business because
24    his knowledge of these violations prevents him from returning until the barriers are
25    removed.
26          15.    Based on the violations, Plaintiff alleges, on information and belief, that
27    there are additional barriers to accessibility at the Business after further site inspection.
28




                                             COMPLAINT - 3
     Case 8:25-cv-00366-MWC-KES        Document 1     Filed 02/24/25    Page 4 of 10 Page ID
                                             #:4



 1    Plaintiff seeks to have all barriers related to his disability remedied. See Doran v. 7-
 2    Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
 3          16.    In addition, Plaintiff alleges, on information and belief, that Defendants
 4    knew that particular barriers render the Business inaccessible, violate state and federal
 5    law, and interfere with access for the physically disabled.
 6          17.    At all relevant times, Defendants had and still have control and dominion
 7    over the conditions at this location and had and still have the financial resources to
 8    remove these barriers without much difficulty or expenses to make the Business
 9    accessible to the physically disabled in compliance with ADDAG and Title 24
10    regulations. Defendants have not removed such barriers and have not modified the
11    Business to conform to accessibility regulations.
12                                      FIRST CAUSE OF ACTION
13           VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
14          18.    Plaintiff incorporates by reference each of the allegations in all prior
15    paragraphs in this complaint.
16          19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
17    shall be discriminated against on the basis of disability in the full and equal enjoyment of
18    the goods, services, facilities, privileges, advantages, or accommodations of any place of
19    public accommodation by any person who owns, leases, or leases to, or operates a place
20    of public accommodation. See 42 U.S.C. § 12182(a).
21          20.    Discrimination, inter alia, includes:
22                 a.     A failure to make reasonable modification in policies, practices, or
23                        procedures, when such modifications are necessary to afford such
24                        goods, services, facilities, privileges, advantages, or accommodations
25                        to individuals with disabilities, unless the entity can demonstrate that
26                        making such modifications would fundamentally alter the nature of
27                        such goods, services, facilities, privileges, advantages, or
28                        accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).



                                            COMPLAINT - 4
     Case 8:25-cv-00366-MWC-KES       Document 1     Filed 02/24/25    Page 5 of 10 Page ID
                                            #:5



 1                b.    A failure to take such steps as may be necessary to ensure that no
 2                      individual with a disability is excluded, denied services, segregated or
 3                      otherwise treated differently than other individuals because of the
 4                      absence of auxiliary aids and services, unless the entity can
 5                      demonstrate that taking such steps would fundamentally alter the
 6                      nature of the good, service, facility, privilege, advantage, or
 7                      accommodation being offered or would result in an undue burden. 42
 8                      U.S.C. § 12182(b)(2)(A)(iii).
 9                c.    A failure to remove architectural barriers, and communication barriers
10                      that are structural in nature, in existing facilities, and transportation
11                      barriers in existing vehicles and rail passenger cars used by an
12                      establishment for transporting individuals (not including barriers that
13                      can only be removed through the retrofitting of vehicles or rail
14                      passenger cars by the installation of a hydraulic or other lift), where
15                      such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
16                d.    A failure to make alterations in such a manner that, to the maximum
17                      extent feasible, the altered portions of the facility are readily
18                      accessible to and usable by individuals with disabilities, including
19                      individuals who use wheelchairs or to ensure that, to the maximum
20                      extent feasible, the path of travel to the altered area and the
21                      bathrooms, telephones, and drinking fountains serving the altered
22                      area, are readily accessible to and usable by individuals with
23                      disabilities where such alterations to the path or travel or the
24                      bathrooms, telephones, and drinking fountains serving the altered area
25                      are not disproportionate to the overall alterations in terms of cost and
26                      scope. 42 U.S.C. § 12183(a)(2).
27          21.   At least one accessible route shall connect accessible building, facilities,
28    elements, and spaces that are on the same site. 1991 ADA Standards § 4.3.2. A public



                                           COMPLAINT - 5
     Case 8:25-cv-00366-MWC-KES           Document 1    Filed 02/24/25   Page 6 of 10 Page ID
                                                #:6



 1    accommodation shall maintain in operable working condition those features of facilities
 2    and equipment that are required to be readily accessible to and usable by persons with
 3    disabilities by the Act or this part. 28 C.F.R. 35.211(a).
 4          22.      Here, Defendants failed to provide at least one accessible entrance to the
 5    Business as the entrance had stairs instead of a proper ramp.
 6          23.      A public accommodation shall maintain in operable working condition those
 7    features of facilities and equipment that are required to be readily accessible to and usable
 8    by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
 9          24.      By failing to maintain the facility to be readily accessible and usable by
10    Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
11    regulations.
12          25.      The Business has denied and continues to deny full and equal access to
13    Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
14    discriminated against due to the lack of accessible facilities, and therefore, seeks
15    injunctive relief to alter facilities to make such facilities readily accessible to and usable
16    by individuals with disabilities.
17                                  SECOND CAUSE OF ACTION
18                      VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
19          26.      Plaintiff incorporates by reference each of the allegations in all prior
20    paragraphs in this complaint.
21          27.      California Civil Code § 51 states, “All persons within the jurisdiction of this
22    state are free and equal, and no matter what their sex, race, color, religion, ancestry,
23    national origin, disability, medical condition, genetic information, marital status, sexual
24    orientation, citizenship, primary language, or immigration status are entitled to the full
25    and equal accommodations, advantages, facilities, privileges, or services in all business
26    establishments of every kind whatsoever.”
27          28.      California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
28    or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable



                                              COMPLAINT - 6
     Case 8:25-cv-00366-MWC-KES         Document 1      Filed 02/24/25   Page 7 of 10 Page ID
                                              #:7



 1    for each and every offense for the actual damages, and any amount that may be
 2    determined by a jury, or a court sitting without a jury, up to a maximum of three times the
 3    amount of actual damage but in no case less than four thousand dollars ($4,000) and any
 4    attorney’s fees that may be determined by the court in addition thereto, suffered by any
 5    person denied the rights provided in Section 51, 51.5, or 51.6.
 6          29.    California Civil Code § 51(f) specifies, “a violation of the right of any
 7    individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
 8    shall also constitute a violation of this section.”
 9          30.    The actions and omissions of Defendants alleged herein constitute a denial
10    of full and equal accommodation, advantages, facilities, privileges, or services by
11    physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
12    Defendants have discriminated against Plaintiff in violation of California Civil Code §§
13    51 and 52.
14          31.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
15    difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
16    damages as specified in California Civil Code §55.56(a)-(c).
17                                   THIRD CAUSE OF ACTION
18                 VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
19          32.    Plaintiff incorporates by reference each of the allegations in all prior
20    paragraphs in this complaint.
21          33.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
22    entitled to full and equal access, as other members of the general public, to
23    accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
24    and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
25    railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
26    of transportation (whether private, public, franchised, licensed, contracted, or otherwise
27    provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
28    places of public accommodations, amusement, or resort, and other places in which the



                                              COMPLAINT - 7
     Case 8:25-cv-00366-MWC-KES        Document 1      Filed 02/24/25   Page 8 of 10 Page ID
                                             #:8



 1    general public is invited, subject only to the conditions and limitations established by
 2    law, or state or federal regulation, and applicable alike to all persons.
 3          34.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
 4    corporation who denies or interferes with admittance to or enjoyment of public facilities
 5    as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
 6    individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
 7    the actual damages, and any amount as may be determined by a jury, or a court sitting
 8    without a jury, up to a maximum of three times the amount of actual damages but in no
 9    case less than one thousand dollars ($1,000) and any attorney’s fees that may be
10    determined by the court in addition thereto, suffered by any person denied the rights
11    provided in Section 54, 54.1, and 54.2.
12          35.    California Civil Code § 54(d) specifies, “a violation of the right of an
13    individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
14    constitute a violation of this section, and nothing in this section shall be construed to limit
15    the access of any person in violation of that act.
16          36.    The actions and omissions of Defendants alleged herein constitute a denial
17    of full and equal accommodation, advantages, and facilities by physically disabled
18    persons within the meaning of California Civil Code § 54. Defendants have
19    discriminated against Plaintiff in violation of California Civil Code § 54.
20          37.    The violations of the California Disabled Persons Act caused Plaintiff to
21    experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
22    statutory damages as specified in California Civil Code §55.56(a)-(c).
23                                 FOURTH CAUSE OF ACTION
24                 CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
25          38.    Plaintiff incorporates by reference each of the allegations in all prior
26    paragraphs in this complaint.
27          39.    Plaintiff and other similar physically disabled persons who require the use of
28    a wheelchair are unable to use public facilities on a “full and equal” basis unless each



                                             COMPLAINT - 8
     Case 8:25-cv-00366-MWC-KES         Document 1     Filed 02/24/25   Page 9 of 10 Page ID
                                              #:9



 1    such facility is in compliance with the provisions of California Health & Safety Code §
 2    19955 et seq. Plaintiff is a member of the public whose rights are protected by the
 3    provisions of California Health & Safety Code § 19955 et seq.
 4           40.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
 5    that public accommodations or facilities constructed in this state with private funds
 6    adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
 7    Title 1 of the Government Code. The code relating to such public accommodations also
 8    require that “when sanitary facilities are made available for the public, clients, or
 9    employees in these stations, centers, or buildings, they shall be made available for
10    persons with disabilities.
11           41.    Title II of the ADA holds as a “general rule” that no individual shall be
12    discriminated against on the basis of disability in the full and equal enjoyment of goods
13    (or use), services, facilities, privileges, and accommodations offered by any person who
14    owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
15    Further, each and every violation of the ADA also constitutes a separate and distinct
16    violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
17    award of damages and injunctive relief pursuant to California law, including but not
18    limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
19                                    FIFTH CAUSE OF ACTION
20                                          NEGLIGENCE
21           42.    Plaintiff incorporates by reference each of the allegations in all prior
22    paragraphs in this complaint.
23           43.    Defendants have a general duty and a duty under the ADA, Unruh Civil
24    Rights Act and California Disabled Persons Act to provide safe and accessible facilities
25    to the Plaintiff.
26           44.    Defendants breached their duty of care by violating the provisions of ADA,
27    Unruh Civil Rights Act and California Disabled Persons Act.
28




                                             COMPLAINT - 9
     Case 8:25-cv-00366-MWC-KES        Document 1 Filed 02/24/25      Page 10 of 10 Page ID
                                             #:10



 1          45.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
 2    has suffered damages.
 3                                     PRAYER FOR RELIEF
 4          WHEREFORE, Plaintiff respectfully prays for relief and judgment against
 5    Defendants as follows:
 6          1.     For preliminary and permanent injunction directing Defendants to comply
 7    with the Americans with Disability Act and the Unruh Civil Rights Act;
 8          2.     Award of all appropriate damages, including but not limited to statutory
 9    damages, general damages and treble damages in amounts, according to proof;
10          3.     Award of all reasonable restitution for Defendants’ unfair competition
11    practices;
12          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
13    action;
14          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
15          6.     Such other and further relief as the Court deems just and proper.
16                               DEMAND FOR TRIAL BY JURY
17          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
18    demands a trial by jury on all issues so triable.
19
20    Dated: February 24, 2025                SO. CAL. EQUAL ACCESS GROUP
21
22
23                                            By:    _/s/ Jason J. Kim___________
                                                     Jason J. Kim, Esq.
24                                                   Attorneys for Plaintiff
25
26
27
28




                                            COMPLAINT - 10
